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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
                    Plaintiff,                   )
                                                 )
 v.                                              )     NO. 04-cr-40014-JPG
                                                 )
JOHN TOLLIVER,                                   )
                                                 )
                    Defendant.                   )

                                 MEMORANDUM AND ORDER

          This matter comes before the Court on defendant John Tolliver’s motion for a free

copy of his grand jury concurrence form (Doc. 200).

          As a preliminary matter, Tolliver is not entitled to any document related to his case

free of charge. Defendants have no constitutional right to a complimentary copy of any

document in their court files. See United States v. Groce, 838 F. Supp. 411, 413, 414 (E.D. Wis.

1993). Before providing copies free of charge, a district court may require the requestor to

show, among other things, that he needs the document for the preparation of some specific non-

frivolous court action. See United States v. Wilkinson, 618 F.2d 1215, 1218-19 (7th Cir. 1980);

Rush v. United States, 559 F.2d 455, 459 (7th Cir. 1977); Groce, 838 F. Supp. at 413-14. These

minimal requirements do not impose any substantial burden to financially unable prisoners who

desire their records be sent to them at government expense. Tolliver has not satisfied the Court

that he needs the document for some specific non-frivolous court action.

          Furthermore, Tolliver has not provided any authority allowing post-judgment

inspection of grand jury materials. “A post-judgment motion needs a source of authority for the

judge to act, and Fed. R. Crim. P. 6(e), which authorizes motions to inspect grand-jury materials

in criminal cases, does not purport to authorize judges to act after the litigation has concluded.”
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United States v. Scott, 414 F.3d 815, 816 (7th Cir. 2005). Thus, the Court has no authority by

virtue of its presiding over this case to allow Tolliver the document he seeks.

          For these reasons, the Court DENIES Tolliver’s motion (Doc. 200).

IT IS SO ORDERED.
DATED: May 11, 2007

                                                 s/ J. Phil Gilbert
                                                 J. PHIL GILBERT
                                                 UNITED STATES DISTRICT JUDGE




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